
217 Md. 652 (1958)
141 A.2d 752
RAMBERG
v.
SUPERINTENDENT OF SPRING GROVE STATE HOSPITAL
[H.C. No. 114, September Term, 1957.]
Court of Appeals of Maryland.
Decided May 27, 1958.
Before BRUNE, C.J., and HENDERSON, HAMMOND, PRESCOTT and HORNEY, JJ.
HENDERSON, J., delivered the opinion of the Court.
In this application for leave to appeal from the denial of a writ of habeas corpus, it appears that petitioner was convicted and sentenced on a charge of drunken driving, and efforts to obtain a release were denied. Ramberg v. Warden, 209 Md. 631. He was transferred to Spring Grove State Hospital and his sentence expired on October 29, 1957. However, prior to that date, on October 25, 1956, he was committed on certificate of two doctors, and is now being detained under Code (1957), Art. 59, sec. 31. As we have repeatedly held, there is no right of appeal in a habeas corpus *653 case unless the confinement is a result of prosecution for a criminal offense. Code (1957), Art. 42, sec. 7; Miller v. Superintendent, 198 Md. 659, and cases cited. His present detention is not of that character.
Application denied, with costs.
